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                                                                                               E-FILED
                                                           Wednesday, 11 January, 2017 02:30:26 PM
                                                                      Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS

A.D., by his guardian and next friend,              )
MARY B. VALENCIA, and INDIVIDUAL                    )
ADVOCACY GROUP, INC.,                               )
                                                    )
               Plaintiffs,                          )
                                                    )       No. 16-cv-3331-RM-TSH
v.                                                  )
                                                    )       JURY TRIAL DEMANDED
CITY OF SPRINGFIELD, ILLINOIS, an Illinois          )
municipal corporation,                              )
                                                    )
               Defendant.                           )

                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs A.D., by his next friend and guardian, Mary B. Valencia, and Individual

Advocacy Group, Inc., move for a preliminary injunction to enjoin Defendant City of Springfield,

Illinois, without bond or upon nominal bond, from instituting eviction proceedings against

Plaintiffs in order to permit continued operation of a 3-person home for persons with disabilities

at 2328 Noble Ave., in the City of Springfield, during the pendency of this proceeding.

       The Declarations of Mary B. Valencia, guardian and next friend of Plaintiff A.D.

(“Valencia Decl.”), and Dr. Charlene Bennett, Ed.D., CEO/executive director of Individual

Advocacy Group, Inc., (“Bennett Decl.”), are attached hereto as Exhibits and are incorporated

herein by reference. Public documents found on the official City of Springfield website and a copy

of the joint statement entitled “State and Local Land Use Laws and Practices and the Application

of the Fair Housing Act,” issued by the Department of Housing and Urban Development and the

Department of Justice on November 10, 2016, are also attached as Exhibits and are incorporated

herein by reference.




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       As explained in the accompanying memorandum, Plaintiffs are likely to succeed on the

merits of their claims, will suffer irreparable harm if preliminary relief is not granted, and have no

adequate remedy at law. Additionally, the harm Plaintiffs will suffer absent an injunction

outweighs any potential harm to Defendant if the relief sought is granted, and the granting of a

preliminary injunction will serve the public interest. In support of this motion, Plaintiffs

incorporate herein by reference their Memorandum in Support of this Motion for Preliminary

Injunction and the exhibits attached thereto.

                                       Law Offices of Thomas E. Kennedy, III, L.C.

                                        /s/ Sarah Jane Hunt

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                                       Attorneys for Plaintiffs IAG and A.D.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 11, 2017, I electronically filed this Memorandum in

Support of Motion for Preliminary Injunction with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to the attorneys of record.


                                                         /s/ Sarah Jane Hunt
                                                         Sarah Jane Hunt

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